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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF DELAWARE


CLEAN COATING INVESTMENT
FUND I, LLC and CLEAN COATING
INVESTMENT FUND II, LLC,
                                              Civil Action No. ______
                          Plaintiffs,
v.                                            JURY TRIAL DEMANDED

XTI02, INC.,
                          Defendant.


                                   COMPLAINT

        The Plaintiffs, Clean Coating Investment Fund, I, LLC (“CCIF I”) and Clean

Coating Investment Fund II, LLC (“CCIF II” and together with CCIF I,

“Plaintiffs”), by their undersigned attorney, file this Complaint against the

Defendant, XTI02, Inc. (the “Defendant”), and in support hereof allege as follows:

                                        PARTIES

        1.    Plaintiffs are Connecticut limited liability companies whose principal

place of business is located at 10 Middle Street, 15th Floor, Bridgeport, CT.

Plaintiffs’ members reside in multiple states in the United States.

        2.    Defendant is a foreign corporation organized under the laws of

Taiwan, with a principal business address located at No. 126, Sec. 2, Minsheng

East Road, 2nd Floor, Taipei, Taiwan.
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      3.     Non-party American PPE & Coating Services, Inc. (“APPE”) is a

Delaware Corporation. Defendant and Defendant’s largest shareholder, Martin

Pierce Hsu, are founding shareholders of APPE and collectively own sixty percent

(60%) of the common stock of APPE.              During all relevant times, Defendant

controlled APPE. Defendant is an “insider” of APPE within the meaning of §

1301(7) of the Delaware Uniform Fraudulent Transfer Act.

      4.     Plaintiffs are passive investors in APPE. Plaintiffs do not have any

voting rights in APPE other than the right to elect one out of APPE’s four or five

directors.

      JURISDICTION, VENUE AND NATURE OF THIS PROCEEDING

      5.     This complaint initiates an action (i) pursuant to 28 U.S.C §§ 2201-2202

for a declaratory judgment determining that two alleged liens on personal property

are not valid; (ii) in the alternative, to avoid certain alleged liens on APPE’s

property under the Delaware Uniform Fraudulent Transfer Act, Delaware Code

Title 6, Chapter Thirteen (“DUFTA”); and (iii) to avoid certain obligations

ostensibly owing from APPE to Defendant.


      6.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §

1332(a)(2) based on diversity of citizenship as the amount in controversy exceeds

$75,000.00, exclusive of interest and costs, and because the Plaintiffs are citizens

of various states in the United States and Defendant is a citizen of a foreign state.

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       7.    Venue of this action in the District of Delaware is proper pursuant to

28 U.S.C. § 1391(b)(2), because the financing statements purportedly perfecting

the alleged liens at issue were recorded with the Delaware Secretary of State,

APPE is a Delaware Corporation, and the shareholder agreement to which

Plaintiffs and Defendant are parties contains a Delaware forum selection clause.

                                        FACTS

       8.    Upon information and belief, Defendant is the creator and producer of

a product known as XTI-360. XTI-360 is a solution that adheres to virtually any

surface for at least one year and kills viruses and bacteria that come into contact

with it.

       9.    Upon information and belief, other than Defendants’ relationship with

APPE, Defendant operates entirely outside of the United States.

       10.   In the Spring of 2020, Defendant began contemplating the possibility

of forming a United States based entity to manufacture and sell personal protective

equipment (“PPE”) coated with XTI-360 and to market and sell XTI-360 in the

United States.

       11.   At that time, Defendant had a pre-existing business relationship with

non-party Michael Holbert (“Holbert”). Holbert had been attempting to market

XTI-360 in the United States for approximately one decade as of the Spring of

2020. At that time, Holbert also had a pre-existing business relationship with Joel


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M. Hartstone (“Hartstone”). Holbert introduced Hartstone to Defendant and its

largest shareholder.

      12.    In the Spring of 2020, Hartstone approached Aaron Romney

(“Romney”), who later became a member and manager of CCIF I and CCIF II, to

solicit his interest in investing in the entities that later became APPE and its sister

company, American CleanCoating Company (“ACC”). Romney had a pre-existing

relationship with Holbert and Hartstone, and Romney had introduced the two of

them to each other years earlier.

      13.    The ownership structures of APPE and ACC are identical to each

other. Defendant and its largest shareholder collectively own sixty percent (60%)

of each company.

      14.    The sole purpose of APPE and ACC was to distribute Defendants’

products in the United States.

      15.    At all times, Defendant controlled APPE and ACC.

      16.     Defendant agreed to allow Hartstone to become the initial Chief

Executive Officer of APPE and ACC. Defendant agreed to allow Holbert to

become the initial Chief Operating Officer of APPE and ACC.

      17.    Defendant and its largest shareholder dictated (i) how much equity

they received in APPE and ACC (for no consideration), (ii) how much equity

Hartstone and Holbert received in APPE and ACC (for serving as officers), and


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(iii) how much equity APPE and ACC could offer to prospective investors and on

what terms.

      18.     Defendant’s largest shareholder sits on APPE’s and ACC’s board of

directors and was involved in its day-to-day decision making. Defendant and its

employees directed APPE’s and ACC’s day-to-day management and decision-

making.

      19.     In the Fall of 2020, CCIF I Invested $1,500,000 in APPE and ACC in

exchange for a fifteen percent (15%) common equity interest of each company (the

“CCIF I Investment”).

      20.     CCIF I made its investment relying on a number of materials,

including, but not limited to, (i) a disclosure statement dated September 23, 2020;

(ii) a letter of intent (the “LOI”), dated September 12, 2020 between and among

APPE, ACC, Defendant, Holbert, and Hartstone, pursuant to which, without

limitation, Defendant agreed to supply APPE and ACC with substantial credit-

financing, products and materials to create one or more facilities for APPE to

manufacture PPE and for ACC to distribute XTI-360 in the United States; and (iii)

an agreement, dated September 23, 2020, between and among APPE, ACC,

Defendant, Holbert, and Hartstone, pursuant to which they agreed to proceed

“substantially as provided in the LOI.”

      21.     Upon information and belief, Defendant dictated the terms of the LOI.


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      22.   On or about October 17, 2020, APPE and Defendant entered into a

sales agreement pursuant to which APPE ostensibly agreed to purchase (i) an

automated assembly line to manufacture PPE that ostensibly included “one of its

kind” technology that Defendant ostensibly had created (the “PHL-1”) for

$600,000, (ii) 200 kilograms of XTI-360 for $200,000; and (iii) and additional

materials to be used to manufacture PPE for an additional $300,000.

      23.   Defendant dictated the terms of the sales agreement and exercised

control over APPE at the time the sales agreement was executed.

      24.   For the items mentioned above, APPE paid $900,000 in cash, all of

which consisted of funds received from CCIF I. Defendant ostensibly agreed to

accept the remaining $200,000 of the ostensible purchase price that APPE

ostensibly owed to Defendant under the terms of the sale agreement in the form of

debt (the “PHL-1 Indebtedness”).

      25.   In late December 2020, before the PHL-1 had arrived at APPE’s

facility in Pennsylvania from Defendant’s facility in Taiwan, and before APPE or

ACC had conducted any operations, Defendant informed APPE through Hartstone

and Holbert that (i) Defendant could provide APPE with a second assembly line

(the “X3D”) to manufacture a different type of PPE (three dimensional facemasks),

(ii) the X3D possessed automated technology that Defendant ostensibly had

created and ostensibly was the only one of its kind, and (iii) if APPE did not buy


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the X3D virtually immediately, Defendant was uncertain when/if another

automated assembly line of that type would become available.

      26.    Defendant also stated to APPE that if APPE purchased the X3D, the

machine could be delivered by February of 2021.

      27.    On December 28, 2020, APPE and Defendant entered into an

agreement pursuant to which APPE would purchase from Defendant the X3D and

various other materials to make PPE. The purchase price of the X3D ostensibly

was to be $800,000 and the purchase price of the other materials was to be

$600,000, for a total of $1.4 million.

      28.    Defendant dictated the terms of this agreement and exercised control

over APPE at the time this agreement was executed.

      29.    For the items mentioned above, APPE paid $1.1 million in cash, all of

which consisted of funds received from Plaintiffs. Defendant ostensibly agreed to

accept the remaining $300,000 of the purchase price that APPE ostensibly owed to

Defendant under the terms of sale Agreement in the form of debt (the “X3D

Indebtedness,” and with the PHL-1 Indebtedness, the “Indebtedness”).

      30.    In January of 2021, CCIF II invested an additional $1,500,000 in

APPE and ACC in exchange for an additional five percent (5%) equity interest in

APPE and ACC (the “CCIF II Investment”). Similar to the CCIF I Investment, the

vast majority of the proceeds from the CCIF II Investment was utilized to buy the


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X3D and the other PPE materials pursuant to the second sale agreement between

APPE and Defendant.

      31.    CCIF II made its investment relying on an information statement

dated January 10, 2021 (the “January 10 Information Statement”). Among other

things, the January 10 Information Statement claims that

             APPE owns the world’s most advanced, automated assembly line
             (“Line One”) [i.e., the PHL-1] for the production of flat, surgical
             style, medical grade, face masks (“Flat Masks”). . . . Line One was
             custom designed and fabricated for APPE in Taiwan by an
             affiliated company, XTI02, Inc. (“XTI”) [i.e., Defendant]. . . Line
             One, which produces and individually (plastic) bags over two
             million, StaClean, XTI-360 coated, Flat Masks per month, requires
             only one operator per shift. The Companies expect to ramp up
             production from a rate of one million Flat Masks in January 2021,
             to a rate of two million Flat Masks in February 2021 and thereafter.

      32.    The January 10 Information Statement further described the

opportunity to buy the X3D (referred to therein as “Line 2”) as “momentary” and

further stated:

             In the event that the Companies fail to make [payment for the
             X3D] and no extension for such payment is granted by
             [Defendant], Line 2 will be immediately placed into production in
             Taiwan. Once registered in Taiwan, with production commenced,
             Line Two cannot be sold to APPE without government approvals
             and it will be late April, at the earliest, before another 3D assembly
             line could be ready to ship.

      33.    The January 10 Information Statement further stated that “[i]f [APPE]

acquires Line Two, it would be operational in Bensalem [Pennsylvania] around

February 15, 2021.”

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      34.    Contrary to the statements in the January 10 Information Statement,

the PHL-1 (i.e., “Line One”) was not operational, was not producing masks at a

rate of one million or two million masks per month, never had supplies to make

one million (much less two million) XTI-coated flat masks, and to this day has not

made anywhere near one million flat masks.

      35.    Despite the fact that the PHL-1 arrived in Pennsylvania in December,

2020, to date APPE has rarely operated it. Upon information and belief, the PHL-1

has created fewer than 20,000 units to date and has sold none of them.

      36.    Despite the rush for APPE to purchase the X3D (for which it obtained

funding from CCIF II to do so), XTI did not deliver the X3D to the United States

until July of 2021.

      37.    Moreover, APPE did not set up the X3D until December of 2021,

when members of CCIF I and CCIF II loaned APPE an additional $30,000 to pay

two technicians from Taiwan to travel to the United States to set up the X3D and

perform maintenance on the PHL 1. At no time before either of the Plaintiffs

invested in APPE were they informed that the PHL-1 or X3D might require the

assistance of Taiwanese technicians in order to be operational in the United States.

      38.    To date, APPE has sold virtually none of the masks produced on the

PHL-1 or X3D (and has made virtually no attempt to do so), and virtually all PPE




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that APPE has produced was produced during the two-week period when the

Taiwanese techs were onsite at APPE’s facility in December 2021.

      39.   To this day, APPE and ACC have not begun the operations for which

they were intended and for which they raised approximately $3 million from

Plaintiffs. APPE and ACC have never sold any XTI-360 solution and their gross

revenues from sales of PPE amount to only several thousand dollars.

      40.   Moreover, the few PPE sales that APPE has consummated were of

PPE that was purchased from Defendant and manufactured outside of the United

States. None, or virtually none, of those sales were of PPE that was manufactured

by APPE in the United States on the PHL 1 or X3D.

      41.   In late March of 2021, Defendant and Defendant’s largest shareholder

had a falling out with Hartstone and Defendant insisted that APPE and ACC

terminate Hartstone, or else XTI would terminate its relationship with APPE and

ACC. After Hartstone was terminated, Holbert answered solely to Defendant and

Defendant exercised complete control over APPE and ACC.

      42.   In addition, Defendant insisted that APPE and ACC focus their efforts

on negotiating a separation agreement with Hartstone, rather than on starting to

operate the business for which they were intended or on generating revenue.

Simply stated, Defendant was unwilling to operate and create value in APPE or

ACC while Hartstone continued to own an interest in either entity. As a result,


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APPE and ACC never began conducting the business for which they were

intended.

      43.   In late April of 2021, Defendant exercised its control over APPE to

require that APPE file a UCC-1 financing statement to perfect an alleged lien on

the PHL-1 to secure the $200,000 that Defendant claimed to have financed in

connection with the October 17, 2020 transaction. That financing statement was

filed with the Delaware Secretary of State on April 29, 2021.

      44.   In May of 2021, Defendant exercised its control over APPE to require

that APPE file a UCC-1 financing statement to perfect an alleged lien on the X3D

to secure the $300,000 that Defendant claimed to have financed in connection with

the December 28, 2020 transaction. That financing statement was filed with the

Delaware Secretary of State on May 19, 2021.

      45.   To the best of Plaintiffs’ knowledge, no written security agreement

was ever executed by APPE to convey or otherwise attach liens on the PHL-1 or

the X3D in Defendant’s favor.

      46.   In November of 2021, after Defendant had spent approximately six

months compelling APPE and ACC to focus their efforts on obtaining a release of

Hartstone’s interest and voting rights in APPE and ACC, three of CCIF I and CCIF

II’s members reached a proposed agreement in principle (the “Proposed




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Settlement”) with Hartstone to purchase Hartstone’s interest in APPE and ACC at

their own expense.

      47.   The Proposed Settlement would have required various parties to

exchange mutual releases, including ACC and APPE, on the one hand, and

Hartstone, on the other hand.

      48.   In addition, the Proposed Settlement permitted, but did not require,

Defendant and its largest shareholder to participate in the releases. Specifically,

despite the fact that Defendant would not have provided any consideration to

anyone under the Proposed Settlement, Defendant was given the option of (i)

providing Hartstone with a general release and receiving a general release from

Hartstone; or (ii) not providing Hartstone with a release of any kind and not

receiving a release of any kind from Hartstone.

      49.   Defendant, which exercised complete control over APPE at the time,

refused to allow APPE to enter into the transaction unless Hartstone provided

Defendant and its largest shareholder with general releases. However, Defendant

and its largest shareholder refused to provide Hartstone with a release of any kind.

As a result, the Proposed Settlement was never consummated.

      50.   Thus, after insisting that APPE obtain an agreement from Hartstone to

relinquish his interest in APPE before APPE could begin its operations in earnest,

Defendant unilaterally precluded APPE from entering into an agreement with


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Hartstone that would have required Hartstone to relinquish his interest in APPE at

no expense to APPE or Defendant.

      51.      To this date, APPE and ACC have not conducted any meaningful

operations and have exhausted their remaining cash.

      52.      Upon information and belief, ACC has not engaged in a single

transaction.

      53.      The only meaningful transactions that APPE has entered into were the

purchase of materials from Defendant pursuant to the October 17, 2020 and

December 28, 2020 Agreements using money that APPE received from CCIF I and

CCIF II.

      54.      For the foregoing reasons, including, but not limited to, the facts that

(i) APPE and ACC never operated for the purpose for which they were intended,

(ii) the only material transactions that they entered into were purchase transactions

from Defendant at prices and terms dictated by Defendant; and (iii) Defendant at

all times controlled APPE and ACC, CCIF I and CCIF II are entitled to rescind

their investments in APPE and ACC.

      55.      Moreover, CCIF II is entitled to rescind its investment based on the

fact that the January 10 Information Statement falsely stated that the PHL-1 was

operational and producing PPE at a rate of at least one million flat masks per

month.


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      56.       By virtue of their right to rescind their investments, CCIF I and CCIF

II are creditors of APPE and ACC.

      COUNT ONE: DECLARATORY RELIEF PURSUANT TO 28 U.S.C. §
       2201-2002 THAT THE ALLEGED LIENS ON THE PHL-1 AND X3D
                            ARE INVALID

      57.       Plaintiffs incorporate paragraphs 1 through 56 as if fully set forth

herein.

      58.       Plaintiffs are creditors of APPE and ACC by virtue of their rescission

claims.

      59.       Defendant has repeatedly asserted that it is a secured creditor of APPE

because of the alleged liens on the PHL-1 and the X3D (collectively, the “Alleged

Liens”).

      60.       APPE never executed a valid security agreement pursuant to which

APPE granted Defendant liens on the PHL-1 and the X3D.

      61.       Although the financing statements purported to perfect the Alleged

Liens, those liens never existed and were incapable of being perfected.

      62.       The attempted perfection of the Alleged Liens clouds the title of the

PHL-1 and X3d, which would otherwise be available to Plaintiffs in support of

their claims.

      63.       Thus, there exists an actual, bona fide, and substantial issue in

controversy regarding the existence and validity of the Alleged Liens.


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      64.    Therefore, Plaintiffs are entitled to entry of a Declaratory Judgment

that the Alleged Liens are invalid and do not encumber the PHL-1 and X3D.

          COUNT TWO: CONSTRUCTIVE FRAUDULENT TRANSFER TO
           AVOID THE ALLEGED LIENS PURSUANT TO 6 DEL CODE. §
                                1305(b)

      65.    Plaintiffs incorporate paragraphs 1 through 56 as if fully set forth

herein.

      66.    To the extent that the Alleged Liens constitute a valid and perfected

security interest in the PHL-1 and X3D, the Alleged Liens were transfers of

APPE’s property for which APPE received no contemporaneous value.

      67.    At the time APPE allegedly granted the Alleged Liens to Defendant,

Defendant was an insider of APPE.

      68.    At the time APPE allegedly granted the Alleged Liens to Defendant,

APPE was insolvent.

      69.    At the time APPE allegedly granted the Alleged Liens to Defendant,

Defendant had reasonable cause to believe that APPE was insolvent.

      70.    To the extent that the Alleged Liens constitute a valid and perfected

security interest in the PHL-1 and X3D, creation of the Alleged Liens were

constructive fraudulent transfers within the meaning of 6 Del. Code. § 1305.

      71.    Plaintiffs are creditors of APPE.




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      72.   Therefore, Plaintiffs are entitled to entry of a judgment avoiding the

Alleged Liens.

      COUNT THREE: CONSTRUCTIVE FRAUDULENT TRANSFER TO
       AVOID THE ALLEGED LIENS PURSUANT TO 6 DEL CODE. §§
                       1304(a)(2) and 1305(a)

      73.   Plaintiffs incorporate paragraphs 1 through 56 as if fully set forth

herein.

      74.   When APPE allegedly granted the Alleged Liens to Defendant,

Defendant was an insider of APPE.

      75.   When APPE allegedly granted the Alleged Liens to Defendant, APPE

was insolvent.

      76.   When APPE allegedly granted the Alleged Liens to Defendant, APPE

was engaged or was about to engage in business for which its remaining assets

were unreasonably small in relation to APPE’s business.

      77.   When APPE allegedly granted the Alleged Liens to Defendant, APPE

believed or reasonably should have believed that it would incur debts beyond its

ability to pay as they became due.

      78.   Defendant did not provide APPE with reasonably equivalent value for

the Alleged Liens.

      79.   To the extent that the Alleged Liens constitute a valid and perfected

security interest in the PHL-1 and X3D, creation of the Alleged Liens were


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constructive fraudulent transfers within the meaning of 6 Del. Code. §§ 1304(a)(2)

and 1305(a).

      80.      Plaintiffs are creditors of APPE.

      81.      Therefore, Plaintiffs are entitled to entry of a judgment avoiding the

Alleged Liens.

          COUNT FOUR: CONSTRUCTIVE FRAUDULENT TRANSFER TO
          AVOID THE DISPUTED OBLIGATIONS UNDER 6 DEL CODE. §§
                           1304(a)(2) and 1305(a)

      82.      Plaintiffs incorporate paragraphs 1 through 81 as if fully set forth

herein.

      83.      Defendant controlled APPE during all relevant times.

      84.      Defendant exercised its control over APPE to cause APPE to

allegedly incur obligations to Defendant for (i) an additional $200,000 for the

PHL-1 beyond the $400,000 in cash that APPE paid to Defendant; and (ii) an

additional $300,000 for the X3D beyond the $500,000 in cash that APPE paid to

Defendant (collectively, the “Disputed Obligations”).

      85.      When APPE incurred the Disputed Obligations to Defendant,

Defendant was an insider of APPE.

      86.      When APPE incurred the Disputed Obligations to Defendant, APPE

was insolvent.




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      87.    When APPE incurred the Disputed Obligations to Defendant, APPE

was engaged or was about to engage in business for which its remaining assets

were unreasonably small in relation to APPE’s business.

      88.    When APPE incurred the Disputed Obligations to Defendant, APPE

believed or reasonably should have believed that it would incur debts beyond its

ability to pay as they became due.

      89.    Defendant did not provide APPE with reasonably equivalent value for

the Disputed Obligations.

      90.    The Disputed Obligations were constructive fraudulent transfers

within the meaning of 6 Del. Code. §§ 1304(a)(2) and 1305(a).

      91.    Plaintiffs are creditors of APPE.

      92.    Therefore, Plaintiffs are entitled to entry of a judgment avoiding the

Disputed Obligations.

                             RESERVATION OF RIGHTS

      93.    Plaintiffs reserve the right to amend this Complaint to include further

parties and/or further causes of action.

      WHEREFORE, the Plaintiffs request that this Court enter an Order of

Judgment:

      1)     Declaring the Alleged Liens void and of no valid effect to encumber the

PHL-1 and the X3D set fort in Count One.


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       2)     Avoiding the Alleged Liens as set forth in Counts Two and Three;

       3)     Avoiding the Disputed Obligations as set forth in Count Four;

       4)     Costs as to all Counts; and

       5)     Such other and further relief as the Court may deem necessary, proper

and just.



Dated:      April 28, 2022              Respectfully submitted,
            Wilmington, Delaware
                                        HILLER LAW, LLC


                                         /s/ Adam Hiller
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                                        Fund II, LLC




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                                 JURY DEMAND

Plaintiffs hereby demand a jury trial on all justiciable counts of this Complaint.

                                       HILLER LAW, LLC


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